 Case 2:22-cv-04355-JFW-JEM Document 43-1 Filed 09/22/22 Page 1 of 2 Page ID #:1105



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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
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     Yuga Labs, Inc.                                 Case No. 2:22-cv-04355-JFW-JEM
12
                         Plaintiff,
                                                     [PROPOSED] ORDER
13
             v.
14
     Ryder Ripps, Jeremy Cahen, Does 1-10,
15
                        Defendants.
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17
           Having considered Defendants’ Response (Dkt. 41) to this Court’s September
18
     1, 2020, Order to Show Cause (Dkt. 40), and having found good cause as set forth
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     therein, IT IS HEREBY ORDERED THAT:
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           1.      The Court’s September 1, 2020, Order to Show Cause (Dkt. 40) is
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     discharged.
22
           2.      Defendants shall re-file their motion to strike and motion to dismiss
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     (Dkt. 38) as previously filed, with corrections to the CM/ECF System names for
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     each filed document, no later than seven (7) days after entry of this order. Such a
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     filing will constitute a timely response to the Complaint.
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           IT IS SO ORDERED.
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                                                1
                         [PROPOSED] ORDER RESPONSE TO ORDER TO SHOW CAUSE
                                     Case No. 2:22-cv-04355-JFW-JEM
 Case 2:22-cv-04355-JFW-JEM Document 43-1 Filed 09/22/22 Page 2 of 2 Page ID #:1106



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 2    Dated: __________________                 By: ____________________________
 3
                                                     Honorable John F. Walter
                                                     United States District Judge
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                     [PROPOSED] ORDER RESPONSE TO ORDER TO SHOW CAUSE
                                 Case No. 2:22-cv-04355-JFW-JEM
